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                 UNITED STATES DISTRICT COURT FOR
                   THE DISTRICT OF NEW HAMPSHIRE
__________________________________________
                                          )
Laurie Ortolano,                          )
                        Plaintiff         )
                                          )
v.                                        ) Civil Action No. 22-cv-00326-LM
                                          )
                                          )
The City of Nashua, et al.,               )
                        Defendants        )
__________________________________________)
 PLAINTIFF’S OBJECTION TO MOTION OF DEFENDANTS, INCEPTION
  TECHNOLOGIES, INC. and RAYMOND FEOLI, TO DISMISS COUNTS
    EIGHT AND TEN OF THE PLAINTIFF’S VERIFIED COMPLAINT
                                     OBJECTION
         The plaintiff, Laurie Ortolano, hereby objects to the Motion to Dismiss
Counts Eight and Ten of defendants Inception Technologies, Inc. and Raymond
Feoli.


         The plaintiff is simultaneously filing a Memorandum of Law objecting to the
Motion to Dismiss.
                              REQUEST FOR HEARING
The plaintiff, Laurie Ortolano, hereby requests that the Court conduct a hearing on
the defendants’ Motion to Dismiss, a dispositive motion.
         .                                      Respectfully submitted,

                                                Laurie Ortolano, Plaintiff
                                                By her Attorneys,

                                                Olson & Olson, P.A.
                                                /s/ Kurt S. Olson
                                                Kurt S. Olson
                                                Bar ID No. 12518
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                                                Salisbury, NH 03268
                                                603-748-1960
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                          CERTIFICATE OF SERVICE

       I, Kurt S. Olson, hereby certify that this document, filed through the ECF
system, will be sent electronically forthwith to the registered participants as
identified on the Notice of Electronic Filing (NEF).


                                             /s/ Kurt S. Olson
                                             Kurt S. Olson
